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                                                       U S ', ?''~            t;
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             IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEOR^fA/^PR/O ^;;|}:37
                           SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V,                                            Case No.      CR416-353


LAMETHEUS DOUGLAS,
                  Defendant.




      Amy Lee Copeland, counsel of record for defendant Lametheus

Douglas in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and               trial shall

not be interrupted or delayed. It is the affirmative obligation of

coiinsel to provide a fitting substitute.


      SO   ORDERED this        —day of April 2017.




                                   WILLIAM T. MOORE/^JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
